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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 24-CV-81550-ROSENBERG

   DURO BEAM, LLC,

        Plaintiff,

   v.

   WILLIAM E. MANNING; WEM GLOBAL INC.;
   JEFFREY HOOGENDAM; 360 CONNECT, LLC;
   IAN HART; IAN HART DESIGN, LLC; and CMI
   MARKETING, INC.,

      Defendants.
   _________________________________________/

                        ORDER SETTING STATUS CONFERENCE,
                      CALENDAR CALL, PRETRIAL DEADLINES, AND
                 TRIAL DATE, AND ORDER OF REFERENCE TO MEDIATION

           This Court enters the following Order to apprise the parties of the trial date in this case and

  to establish certain pretrial procedures. Many of the procedures delineated in this Order are unique

  to the undersigned, and, as a result, the parties should carefully review this Order. This Order

  establishes pretrial deadlines. It is the Court’s intention that this Order will provide the parties

  with all of the information they need to litigate before this Court.

           This Order is organized as follows:
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  The parties shall comply with the undersigned’s rules as follows:

             1. TRIAL, CALENDAR CALL, AND STATUS CONFERENCE

             PLEASE TAKE NOTICE that the above-captioned cause is hereby set for Trial before

  the Honorable Robin L. Rosenberg, United States District Judge, at the United States District Court

  at 701 Clematis Street, Fourth Floor, Courtroom 1, West Palm Beach, Florida, 1 during the four-

  week trial period commencing January 12, 2026, at 9:00 a.m., or as soon thereafter as the case

  may be called. PLEASE TAKE FURTHER NOTICE that Calendar Call will be held on

  January 7, 2026, at 10:30 a.m. and a Status Conference will be held on November 26, 2025, at

  10:00 a.m. Unless the Court notifies the parties otherwise, the Court will conduct Calendar Call

  (or any other non-evidentiary hearing) by Zoom and the Court will distribute login information

  approximately one week prior to the proceeding.

             2. PRETRIAL DEADLINES

             Discovery shall begin immediately, and the parties shall adhere to the following schedule,

  which shall not be modified absent compelling circumstances:

             March 10, 2025: Rule 26(a)(1)(A) Initial Disclosures (if not provided earlier).

             March 10, 2025: Deadline to designate a mediator and to schedule a time, date, and place

             for mediation.

             April 10, 2025: Joinder of Additional Parties and Amend Pleadings.

             July 11, 2025: The parties shall provide opposing counsel with a written list with the names

             and addresses of all primary/initial expert witnesses intended to be called at trial and only



  1
      Absent further order of the Court, every proceeding in this case will take place at the same location.

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          those primary/initial expert witnesses listed shall be permitted to testify. The parties shall

          also furnish opposing counsel with expert reports or summaries of its expert witnesses’

          anticipated testimony in accordance with Fed. R. Civ. P. 26(a)(2). Within the 30 day period

          following this disclosure, the parties shall make their experts available for deposition. The

          experts’ deposition may be conducted without further Court order.

          July 18, 2025: Any motions for class certification shall be filed.

          August 12, 2025: The parties shall provide opposing counsel with a written list with the

          names and addresses of all rebuttal/responsive expert witnesses intended to be called at

          trial and only those rebuttal/responsive expert witnesses listed shall be permitted to testify.

          The parties shall also furnish opposing counsel with expert reports or summaries of its

          expert witnesses’ anticipated testimony in accordance with Fed. R. Civ. P. 26(a)(2). 2

          Within the 30 day period following this disclosure, the parties shall make their experts

          available for deposition. The experts’ deposition may be conducted without further Court

          order.

          Note: The above provisions pertaining to expert witnesses do not apply to treating

          physicians, psychologists or other health providers.

          September 12, 2025: All fact discovery shall be completed.

          September 12, 2025: All expert discovery shall be completed.

          October 10, 2025: All Pretrial Motions, including summary judgment motions, Daubert

          motions, and motions in limine shall be filed. See sections 10-11.

          November 12, 2025: Mediation must be completed.



  2
    Nothing in this Order shall modify the requirements of the Federal Rules with respect to when an expert summary
  report may be produced in lieu of a full, written expert report; a party may produce a summary expert report only
  when the Federal Rules so permit.

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         December 12, 2025: The Pretrial Stipulation shall be filed. Designations of deposition

         testimony shall be made. Parties shall also exchange Rule 26(a)(3) witness and exhibit

         lists. See section 14.

         December 17, 2025: Counter-designations of deposition testimony and objections to

         designations of deposition testimony shall be filed. Late designations shall not be

         admissible absent exigent circumstances.

         December 22, 2025: Objections to counter-designations of deposition testimony and

         responses to objections to designations of deposition testimony shall be filed.

         December 26, 2025: Responses to objections to counter-designations of deposition

         testimony shall be filed.

         December 29, 2025: Jury Instructions or Proposed Findings of Fact and Conclusions of

         Law shall be filed. The parties’ joint statement of the case is due. The parties’ joint trial

         plan is due. The parties shall file their finalized exhibit list and witness list. The parties’

         Notice of Intent to Seek Pretrial Adjudication of Deposition Designations, if applicable, is

         also due. See sections 5, 8, 13.

         January 2, 2026: The parties’ Notice of Remaining Issues that Require Adjudication is

         due. The parties’ joint deposition designation notebook, if applicable, is due. See section

         13.

         In the event the parties are concerned with their ability to meet all pretrial deadlines and to

  be fully prepared to be able to try this case at the scheduled time, the parties may consider

  consenting to magistrate judge jurisdiction as a magistrate judge may be able to afford the parties

  greater latitude with respect to these deadlines. However, nothing in this Order shall preclude any

  party from moving for an extension of pretrial deadlines or a continuance of trial.



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          3. EXTENSIONS OF PRETRIAL DEADLINES

          Provided that all parties are in agreement, any pretrial deadline(s) prior to the deadline for

  the filing of dispositive motions may be modified without Court order by filing a joint notice

  indicating the new pretrial deadline(s) reached by agreement. A motion need not be filed.

  However, if the parties elect to modify deadlines 3 by agreement, the parties should not anticipate

  that the Court will modify other deadlines as a result of any possible prejudice to the parties. By

  way of example, if the parties extend the deadline for discovery, the parties should not anticipate

  that the Court will modify the deadline for dispositive motions. Furthermore, the parties are hereby

  on notice that if the parties extend the deadline for discovery, the Court will deem the parties to

  have waived any argument under Rule 56(d) of the Federal Rules of Civil Procedure that a party

  cannot move for or defend against summary judgment because of the extension of the discovery

  deadline. Only when the parties seek and are unable to agree on a modification of a pretrial

  deadline or seek an extension of the deadline for dispositive motions or any deadline following the

  deadline for dispositive motions, should the parties file a motion with the Court. The parties may

  not utilize this procedure to extend the deadline to answer a pleading or to respond to a motion. If

  any party fails to follow the procedures in this order, the Court may deny the motion without

  prejudice.

          The parties are cautioned that the Court will not grant continuances of the dispositive

  motion deadline or trial date lightly. Any motion requesting either of these forms of relief should

  contain detailed information in support of the motion, including the amount, timing, and type of

  discovery that was undertaken in the case. The Court’s strong adherence to the dispositive deadline

  is for the parties’ benefit. Because of the amount of time necessary for a dispositive motion to


  3
   The parties’ modification of the deadline for discovery will not extend the time for any party to file a motion to
  compel. The deadline for discovery motion practice will be governed by the discovery deadline entered by the Court.

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  ripen and because of the significant amount of time the Court needs in order to properly evaluate

  and consider dispositive motions, the dispositive deadline must be set several months before trial.

  In the event the dispositive deadline is extended, an order granting dispositive relief may come too

  late to save the parties from unnecessary pretrial preparation costs and expenses. Finally, in the

  event the Court declines to extend any deadline, the parties have the option of consenting to

  magistrate judge jurisdiction which affords the parties greater flexibility with pretrial deadlines

  and a trial date.

           4. JURY TRIALS

           In addition to filing their proposed jury instructions and verdict form with the Clerk, the

  parties shall also submit A SINGLE JOINT SET of proposed jury instructions and verdict form in

  Word format directly to Rosenberg@flsd.uscourts.gov. 4 To the extent these instructions are

  based upon the Eleventh Circuit pattern jury instructions, counsel shall indicate the appropriate

  Eleventh Circuit pattern jury instruction upon which their instruction is modeled. All other

  instructions shall include citations to relevant supporting case law.

           The Court wishes to impress upon the parties how important it is for the parties to devote

  serious consideration to their proposed jury instructions. The Court’s review of proposed jury

  instructions is both time and labor intensive. When a party alters a legal position on a jury

  instruction at trial (as compared to the party’s original position in the proposed instructions), much

  of the Court’s pre-trial preparation is wasted. Relatedly, when a party raises an argument for the

  first time at trial on jury instructions, the ability of both the Court and the parties to research the

  new position is hampered by the time constraints of a trial day and the need to respect the time



  4
   The joint set of proposed jury instructions should include both preliminary jury instructions (from the appropriate
  Eleventh Circuit pattern instructions) as well as final jury instructions. Proposed voir dire questions and verdict forms
  should be e-mailed in Word format to this e-mail address as well.

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  commitment of the jury. Thus, the parties should confer and reach an agreement on as many jury

  instructions as possible because, through such an agreement, both the parties and the Court can

  focus their respective valuable time on the central issues in dispute that cannot be resolved

  through reasonable conferral.

         The parties need not agree on the proposed language of each instruction or question on the

  verdict form. Where the parties do agree on a proposed instruction or question, that instruction or

  question shall be set forth in Times New Roman 14 point typeface. Instructions and questions

  proposed only by the plaintiff(s) to which the defendant(s) object shall be italicized. Instructions

  and questions proposed only by defendant(s) to which plaintiff(s) object shall be bold-faced. If a

  party’s objection to an instruction is that the instruction should not be given, the objecting party

  must still either (i) submit proposed wording for the instruction or (ii) state that there is no

  objection to the wording of the instruction, subject to the party’s preserved objection. Each jury

  instruction shall be typed on a separate page and, except for Eleventh Circuit pattern instructions

  clearly identified as such, must be supported by citations to authority. In preparing the requested

  jury instructions, the parties shall use as a guide the pattern jury instructions for civil cases

  approved by the Eleventh Circuit, including the directions to counsel contained therein.

         If a Defendant does not intend to pursue an affirmative defense at trial, or if a pled

  affirmative defense is not a valid affirmative defense under the law, the Defendant should not

  propose an instruction on that defense and should instead inform the Court of the same. Defenses

  such as “failure to state a claim” and “failure to prove the elements of a cause of action” are not

  affirmative defenses.

         When the parties file proposed jury instructions, the parties shall also file a joint statement

  of the case. The statement of the case should be brief and should contain no argument. The



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  purpose of the joint statement of the case is merely to convey enough information to a prospective

  juror for that juror to ascertain whether he or she has previous knowledge of the case.

         5. BENCH TRIALS

         An additional copy of all proposed Findings of Fact and Conclusions of Law (the date

   for filing the proposed Findings of Fact and Conclusion of Law is set forth in the pretrial

   scheduling order) shall be sent in Word format to the chambers e-mail account listed above.

   Proposed Conclusions of Law must be supported by citations to authority.

         6. EXHIBIT AND WITNESS LISTS

         In any proceeding where evidence will be introduced, counsel shall submit to the Court a typed list

  of proposed witnesses and/or exhibits. All exhibits shall be pre-labeled in accordance with the

  proposed exhibit list, and only numerical sequences are permitted—alphabetical designations shall

  not be used. Exhibit labels must include the case number, the exhibit number, and the party

  offering the exhibit. A typewritten exhibit list setting forth the number, or letter, and description

  of each exhibit must be submitted prior to trial. Any composite exhibits should be listed separately,

  i.e. 1A, 1B, 1C, etc. The parties shall submit said exhibit list on AO Form 187, which is available

  from the Clerk’s office and at http://www.uscourts.gov/services-forms/forms. At trial, the parties

  shall deliver to the Court a USB flash drive that contains digital copies of the exhibits. The parties

  must also comply with Local Rule 5.3.

         7. TRIAL PLAN, STATUS CONFERENCE, AND PRETRIAL RULINGS

         At the Status Conference, the Court will require all parties to estimate the total number of

  witnesses each party intends to call at trial and to estimate the total amount of time requested for

  trial. The Court will utilize this estimate in the event multiple cases proceed to trial during the




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   relevant trial period. The parties’ estimate is not intended to be binding on the parties—it is merely

   a preliminary scheduling tool for the Court.

            As Calendar Call draws near, the Court will require a more detailed estimate of the time

   needed for trial in the form of a joint trial plan. The joint trial plan shall set forth the following

   information: (1) the anticipated length of time required for each party’s opening statement; (2) the

   witnesses each party intends to call at trial, listed in the order in which these witnesses will be

   called; 5 (3) a brief description of each witness (e.g., the identity of the witness and the relationship

   of the witness to any parties in the case); (4) whether the witness is an expert and, if so, the area

   of expertise of the witness; (5) whether each witness will testify live, by video deposition, or by

   reading of deposition testimony; (6) the anticipated length of time required for direct examination,

   cross examination, and redirect examination of each witness; (7) the anticipated length of time

   required for each party’s closing argument; (8) any additional matters that may affect the course

   of trial; and (9) an accurate summation of the total time allocated in the trial plan. 6

            The Court prefers the trial plan to be submitted using the following format:




   5
     If adjustments become necessary during trial, the Court will not require the parties to call their witnesses in the order
   in which they are listed in the joint trial plan, as long as sufficient advance notice of the adjustments is provided to the
   Court and opposing counsel. However, the Court expects very little deviation from the joint trial plan in all other
   respects.
   6
     The parties need not include an estimation of time for jury selection.

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           Prior to filing the joint trial plan, the parties shall meet and confer regarding the matters

   outlined therein. The parties shall certify in the joint trial plan that they have complied with this

   requirement. No witness should appear on the trial plan who was not disclosed in the Pretrial

   Stipulation.

           Two business days after the parties file their joint trial plan, the parties shall also file a

   Notice of Remaining Issues that Require Adjudication. This Notice shall inform the Court of areas

   in which a ruling is required including: (1) jury instructions, (2) verdict forms, (3) exhibits, (4)

   deposition designations, and (5) other evidentiary objections. The parties shall inform the Court

   of the general category or nature of the disputes and provide a brief summary of the factual and/or

   legal support for the parties’ respective positions. At Calendar Call, the Court will discuss the

   volume of remaining issues with the parties. In the event the number of remaining issues is small,

   the Court will endeavor to handle these matters at Calendar Call. In the event the number of

   remaining issues is moderate or large, the Court will endeavor to set time before trial commences

   for argument and rulings on as many of the remaining issues as possible. In the event the Court is

   unable to address all issues prior to trial, the Court may utilize the first day of trial, either before

   or after jury selection, to render pre-trial rulings. The Court’s objective in utilizing this procedure

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   is two-fold. First, the Court seeks to utilize the jury’s service as efficiently as possible with

   minimal, if any, evidentiary objections at trial. Second, the Court seeks to finalize the jury

   instructions and verdict form early because, in the Court’s experience, counsel’s time during trial

   is best spent on the trial itself without distraction on the legal issues and argument that commonly

   arise in the finalization of jury instructions. Of course, the Court recognizes that the finalization

   of jury instructions cannot be accomplished until all of the evidence has been presented.

          8. HEARINGS

          The Court will review sua sponte any motions (other than those referred to the Magistrate

   Judge) and determine which motions are appropriate for a hearing. Counsel is allowed to appear

   in person or via telephone, unless the Court instructs otherwise. In order to appear via telephone,

   counsel must file a notice of telephonic appearance, as set forth in the instructions in this Order, at

   least one (1) day prior to the hearing. The Court will endeavor to give the parties as much notice

   of the scheduled hearing as possible, but, at times, notice may be within a week of the hearing.

   The Court’s sua sponte setting of hearings on motions does not preclude the parties from

   requesting oral argument, as appropriate, on filed motions. Finally, counsel should keep in mind

   the need to provide courtroom experience to the next generation of practitioners and, as a result,

   the Court will particularly welcome any less-experienced counsel to argue any of the motions set

   for a hearing. Additionally, the Court will permit experienced counsel to reserve the right to

   supplement or amend oral argument by less-experienced counsel, and the Court may afford a slight

   amount of additional time to allow for such supplementation or amendment.

          9. MOTIONS FOR SUMMARY JUDGMENT AND STATEMENTS OF
             MATERIAL FACTS

          Local Rule 56.1 requires a motion for summary judgment (and opposition thereto) to be

   accompanied by a statement of material facts. The Rule also imposes very specific and very


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   detailed requirements on a statement of material facts. Because the Court will strictly enforce the

   requirements of the Rule, the parties should carefully study the Rule to ensure their filings are in

   full compliance.

          10. MOTIONS IN LIMINE

          Each party is limited to filing one motion in limine that contains no more than three requests

   for relief. This limitation includes Daubert challenges to expert witnesses. Any party may move

   for a modification of this limitation at least one week in advance of the deadline for filing motions

   in limine and must provide a detailed basis to support the requested relief. Motions in limine that

   request for the Court to order the opposing party to comply with the Federal Rules of Evidence are

   improper and may be denied immediately.

          11. MOTIONS TO STRIKE AFFIRMATIVE DEFENSES

          Motions to strike are generally disfavored as courts consider them “a drastic remedy to be

   resorted to only when required for the purposes of justice” that should only be granted when

   allegations “have no possible relation to the controversy.” Augustus v. Bd. of Pub. Instruction,

   306 F.2d 862, 868 (5th Cir. 1962). This Court disfavors motions to strike affirmative defenses.

   However, the Court will not permit a defendant to raise an affirmative defense that is not, in fact,

   an affirmative defense (such as the affirmative defense of “failure to state a claim”) at any stage

   of the litigation, including upon the filing of a motion for summary judgment and at trial. When

   counsel files such affirmative defenses, it reflects a lack of due diligence in the crafting of the

   answer and the affirmative defenses. The Court will construe improper affirmative defenses as

   denials. See Ramnarine v. CP RE Holdco 2009-1, LLC, No. 12-61716, 2013 WL 1788503, at *4

   (S.D. Fla. Apr. 26, 2013) (“The proper remedy when a party mistakenly labels a denial as an

   affirmative defense is not to strike the claim but instead to treat it as a specific denial.”).



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   Nonetheless, the Court does not prohibit any party from filing a motion to strike affirmative

   defenses. In the event a party elects to file a motion to strike affirmative defenses, however, the

   party must certify in the opening paragraph of the motion that the party has read and considered

   this section in the Court’s Order and has considered the case law cited herein.




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          12. DEPOSITION DESIGNATIONS

          In the experience of this Court, only a small fraction of deposition designations are utilized

   at trial. Juxtaposed to the small amount of deposition designation testimony utilized at trial is the

   large amount of time and expense that deposition designations entail: the proponent must study a

   deposition to designate relevant testimony, the opposing party must prepare objections to

   designated testimony, the proponent must thereafter respond to the opposing party’s objections,

   the parties must confer on all objections, the Court must hear argument on unresolved, contested

   objections, and the Court must, in many cases, review extensive portions of deposition transcripts.

   The Court’s review of deposition transcripts is complicated by the fact that the Court is often

   without the benefit—unlike the parties—of the context of the entire scope of evidence that will be

   introduced at trial. The foregoing impacts the amount of time the parties have to prepare for the

   trial and the amount of time that jurors may spend hearing evidence on a given trial day. In

   summary, the foregoing affects the Court’s and the parties’ obligations under Rule 1 of the Federal

   Rules of Civil Procedure. Rule 1 requires that the Federal Rules be “construed, administered, and

   employed by the court and the parties to secure the just, speedy, and inexpensive determination of

   every action and proceeding.” In accordance with its obligations under Rule 1, the Court orders

   the following.

          The parties must decide whether deposition designations require adjudication prior to trial.

   If no adjudication is necessary, the requirements imposed in this section do not apply. By way of

   example, if the parties intend to read deposition designation testimony out loud at trial, the Court

   can rule on objections to the testimony contemporaneously with the reading; adjudication prior to

   trial is unnecessary.




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          Alternatively, a party may decide that an objection to deposition testimony is of sufficient

   importance that the Court must adjudicate the objection prior to trial. Relatedly, a party may elect

   to use video depositions in lieu of a reading, and because video editing is a time-consuming

   process, pretrial adjudication of disputed testimony is necessary.           In either situation, the

   requirements of this section apply and, contemporaneously with the parties’ filing of proposed jury

   instructions, the parties must file a Notice of Intent to Seek Pretrial Adjudication of Deposition

   Designations. The notice must be accompanied with the joint creation of a physical, non-electronic

   deposition designation notebook, subject to the follow requirements.

          First, the notebook must be delivered to Chambers by the deadline for the parties’ joint

   Notice of Remaining Issues that Require Adjudication. Second, the notebook (or notebooks) must

   contain the full deposition transcript for each designated witness. Third, the designated (or

   counter-designated) testimony for each witness must be highlighted and easy to locate and identify.

   Fourth, objections to the designated testimony must be supplemented with an appendix that

   contains detailed legal argument explaining the objections, together with a response from the

   opposing party. Fifth and finally, an objection to designated testimony may only be raised after a

   full, reasonable conferral between the parties on the issue in dispute as more fully set forth below.

          The deposition designation notebook must be accompanied by a certification, by the party

   objecting, that: (i) the parties have conferred on the objection, (ii) the objection is raised in good

   faith, (iii) the objection raises an issue that the parties, working together as professionals, cannot

   resolve without court intervention, and (iv) the expenditure of judicial labor is the only avenue by

   which the dispute may be resolved. The Court will carefully consider all of the objections brought

   to its attention. In the event the Court concludes that a designating party or counsel, or an objecting

   party or counsel, has failed “to secure the just, speedy, and inexpensive determination of every



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   action and proceeding,” the Court may consider sanctions, as appropriate. Similarly, if the Court

   concludes that objections to designations must be ruled upon contemporaneously with the reading

   of designated testimony 7 at trial because of a party or counsel’s failure to comply with this Order,

   the Court may consider sanctions, as appropriate.

           13. PRETRIAL STIPULATION

           The Pretrial Stipulation shall conform to S.D. Fla. L.R. 16.1(e). The Court will not accept

   unilateral pretrial stipulations and will strike sua sponte any such submissions. Should any of the

   parties fail to cooperate in preparing the Pretrial Stipulation, all parties shall file (by the date the

   pretrial stipulation was due) a certification with the Court stating the circumstances. Upon receipt

   of such certifications, the Court may issue an order requiring the non-cooperating party or parties

   to show cause why such party or parties, or their respective attorneys, should not be sanctioned for

   the failure to comply with the Court’s order. The pretrial disclosures and objections required under

   Fed. R. Civ. P. 26(a)(3) should be served, but not filed with the Clerk’s Office, as the same

   information is required to be attached to the parties’ Pretrial Stipulation. The filing of a motion to

   continue trial shall not stay the requirement for the filing of a Pretrial Stipulation.

           The Pretrial Stipulation must contain a list of the exhibits each side intends to offer at trial

   and a list of each witness who will testify at trial. If an exhibit does not appear on the exhibit list,

   that exhibit may not be offered at trial absent good cause and no prejudice to the other side. If a

   witness does not appear on the witness list, that witness may not testify at trial absent good cause

   and no prejudice to the other side. Finally, in addition to the requirements outlined above, the

   parties must begin to confer and prepare the proposed jury instructions at the time they are

   preparing the pretrial stipulation.


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     Such a ruling may mean that a transcript of a video deposition must be read in lieu of presentation of the video
   recording.

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           14. COMPUTERS AND OTHER EQUIPMENT

           Counsel desiring to utilize laptop computers or other electronic equipment in the courtroom

   shall file a motion and submit a proposed order granting such use one week prior to the

   commencement of trial. The motion and proposed order should describe with specificity (1) the

   equipment, (2) the make and model of the equipment, and (3) the identity of the person who will

   bring the proposed equipment. A sample order permitting electronic equipment into the courtroom

   is available for viewing on the Court’s website at: http://www.flsd.uscourts.gov / content / judge-

   robin-l-rosenberg. Counsel shall contact the courtroom deputy at least one week prior to trial to

   discuss any special equipment (video monitor, etc.) that may require special arrangements.

           15. NON-COMPLIANCE WITH THIS ORDER

           Intentional or repeated non-compliance with any provision of this Order may subject the

   non-complying party or counsel to appropriate sanctions. It is the duty of all counsel to enforce

   the timetable set forth herein in order to ensure an expeditious resolution of this cause.

           16. SETTLEMENT

           If the case is settled, counsel shall so inform the Court within two court-days of settlement

   by submitting an appropriate notice of settlement, stipulation for dismissal, or motion for

   dismissal, pursuant to Federal Rule of Civil Procedure 41(a). See Local Rule 16.4. The parties

   shall attend all hearings and abide by all time requirements unless and until an order of dismissal

   is filed.

            17. COMMUNICATION WITH CHAMBERS

           Rules regarding communication with Chambers are available for viewing at

   http://www.flsd.uscourts.gov / content / judge-robin-l-rosenberg.

           18. MEDIATION



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          Pursuant to Local Rule 16.2, this case is referred to mediation as follows:

                 a.       Mediation shall be completed by the above stated deadline for completing
                          mediation;

                 b.       The parties shall—within the above stated deadline to designate a
                          mediator and to schedule a time, date, and place for mediation—
                          agree upon a mediator and file a Notice with the Court naming the
                          chosen mediator and stating the date, time, and location for which
                          mediation has been scheduled. If the parties are unable to agree upon
                          mediator, they shall ask the Clerk of Court to designate a mediator
                          from the list of certified mediators on a blind random basis;

                 c.       Counsel for Plaintiff shall be responsible for coordinating a
                          mediation date, time, and location agreeable to the mediator and all
                          counsel of record;

                 d.       Within one (1) day of the mediation conference, the mediator shall
                          file a Mediation Report indicating who attended the mediation and
                          the result thereof; and

                 e.       The parties shall refer to the portion of this Order designated
                          “Settlement” for instructions on how to proceed after settlement.


          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 10th day of

   February, 2025.



                                                        _______________________________
   Copies furnished to:                                 ROBIN L. ROSENBERG
   Counsel of record                                    UNITED STATES DISTRICT JUDGE




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